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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TENNESSEE
                                WESTERN DIVISION


  FRIENDS OF GEORGE’S, INC.,
                        Plaintiff,


                v.                                      Case No. 2:23-cv-02163-TLP-tmp
                                                        Case No. 2:23-cv-02176-TLP-tmp
  STEVEN J. MULROY,
       in his official and individual capacities,
                        Defendant.




              DECLARATION OF JAMES R. NEWSOM III IN SUPPORT OF
                   REPLY IN SUPPORT OF MOTION TO DISMISS
                OF STEVEN J. MULROY IN HIS OFFICIAL CAPACITY




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 I, James R. Newsom III, hereby declare as follows:

    1. I am an attorney with the Office of the Tennessee Attorney General, counsel of record for

        Defendant Steven Mulroy in his official capacity as District Attorney General of Shelby

        County, Tennessee in the above-captioned action. I am duly licensed to practice law in

        the State of Tennessee and am admitted to the bar of this Court.

    2. I make this declaration in support of Defendant’s Reply in Support of Motion to Dismiss

        of Steven J. Mulroy in His Official Capacity (“Motion”), based on my own personal

        knowledge, and, if called to testify as to the truth of the matters declared herein, I could

        and would competently testify.

    3. Attached as Exhibit B is a true and correct copy of excerpts from Plaintiff’s Responses to

        Defendant’s First Set of Interrogatories, Requests for Production of Documents, and

        Requests for Admission.

    4. Attached as Exhibit C is a true and correct copy of excerpts from the transcript of the

        Fed. R. Civ. P. Rule 30(b)(6) deposition of Plaintiff Friends of George’s, Inc. conducted

        on April 24, 2023.

        I declare under penalty of perjury under the laws of the United States that the foregoing is

        true and correct to the best of my knowledge and understanding.




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       Dated: May 12, 2023                Respectfully submitted,

                                          JONATHAN SKRMETTI
                                          Attorney General and Reporter


                                          s/James R. Newsom III
                                          James R. Newsom III (TN BPR No. 6683)
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                                          J. Matthew Rice (TN BPR No. 40032)
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                                  CERTIFICATE OF SERVICE
         I hereby certify that on May 12, 2023, a copy of the foregoing was filed electronically.
 Notice of this filing will be sent by operation of the Court’s electronic filing system to all parties
 indicated on the electronic filing report. Parties may access this filing through the Court’s
 electronic filing system.



                                                       s/James R. Newsom III
                                                       James R. Newsom III
                                                       Special Counsel
